 

 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 1 of 45 PAGEID #: 417

 

TRIAL COURT UF MASSAUMUSE LL

 

SEARCH WARRANT Salem Superior COURT DEPARTMENT
DIVISION ;
G.L. c, 276, § 8 1-7 SEARCH WARRANT DOCKET NUMBER

 

 

TO THE SHERIFFS OF OUR SEVERAL COUNTIES OR THEIR DEPUTIES, ANY STATE POLICE OFFICER, OR ANY
CONSTABLE OR POLICE OFFICER OF ANY CITY OR TOWN, WITHIN OUR COMMONWEALTH:

Proof by affidavit, which is hereby incorporated by reference, has been made this day and I find that there is
PROBABLE CAUSE to believe that the property described below:

has been stolen, embezzled, or obtained by false pretenses.

X | is intended for-use or has been used as the means of committing a crime,
X | has been concealed to prevent a crime from being discovered.

is unlawtully possessed or concealed for an unlawful purpose,

X 7 is evidence of a crime or is evidence of criminal activity.

other (specify):

 

YOU ARE THEREFORE COMMANDED, within a reasonable time and in no event later than seven days from the issuance of this
search warrant to search for the following property:

Employee personel records and business records of North Shore Movers and Angel One Security. In addition the records are to include
but not limited to financial records, contracts, advertisements, payroll, and tax documents, The records will include both computer
generated and encased records and non-computer gernerated and encased records.

at {identify the exact location or description of the place(s) to be searched):
407 Walnut Street, Lynn MA a two story single family white colored dwelling with green shutters: The number 407 is
affixed over the front door.

which is occupied by and/or in the possession of:
Sean Murphy dob:7/19/64

on the person or in the possession of (identify any specific person(s) to be searched):
Sean Murphy dob 7/19/64

You (Clare PJ are not also authorized to conduct the search at any time during the night.
You (Clare ([).arenot also authorized to enter the premises without announcement.

You Bare [larenct also commanded to search any person present who may be found to have such
property in his or her possession or under his or her control or to whom such
proparty may have been delivered.

YOUR ARE FURTHER COMMANDED if you find such property or any part thereof, to bring it, and when appropriate, the persons in

whose possession it is found before the :

L Ynn Division of the Diu Court Department.

 

 

 

 

 

DATE ISSUED SIGNATURE OF JUSTICE
i[22-/09 oh
i i]
FIRST OR ADMINISTRATIVE JUSTICE PRINTED NAME OF JUSTICE, SbisRM-MAGIS TEATS. OR-AGGIG TANT CLERIC

witness: Barbara J. Louse. Jeha T. Ly

 

 

 

 

 
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 2 of 45 PAGEID #: 418
Yep #

 
  
  
 
  
 

WING SEARCH WARRANT

, bie after Ks issuance, and in any case may not be validly
tg officer must Me his or her return with the court named in the
, rhs a 276, §3A.

i

pa a

sah
ron Warrail wae ladliad'on January 23,2009 _, and | have executed it as follows:
Tie following ia an inventory of the property taken pursuant to this search warrant:

i. €1) 3.8" computer disk

 

 

 

 

 

2. (1) Vawyers diary

i.” Financial documents North Shore Movers
4, Financial documents Angel One

5. Financial documents Sean Murphy

6. US Postal money order receipts

 

7, (1} Hewlett Packard desktop computer tower model M7000 (serial #: MXX6480VRH)

 

8. (1) Hewlett Packard desktop computer tower model M7470n (serial #: CNN6I20HND)

 

 

 

 

 

 

 

 

 

 

 

 

20),

 

(attach additional pages as necessary)

This invenlory was made in the presence of:
Trouper Steven R, Wohlpernuth #2942

| swear thal this inventory is a true and detailed account of all the properly taken by me on this search warrant.
_s £2

 

    

 

DATE AND TIME OF SEARCH SWORN AND 9URSGR JEFORE
(iar t
12/23/2009 at 6:15 AM Xx as £. te.
Signoturg Of distica, Clerk-Magivirgie Or Aaaitant Clork |

PRINTED NAME OF PERSON MAKWEBEARCH TITLE OF PERSON MAKING SEARCH DATE §
Lt Alan C. Zani Lieutenant, MA State Police

—e_" | : [27 29

 

 

 

 
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 3 of 45 PAGEID #: 419

 

 

 

APPLICATION FOR SEARCH WARRANT TRIAL COURT OF MASSACHUSETTS
GL. c. 276, § § 1-7
YAME OF APPLICANT Sajem Superior COURT DEPARTMENT
Alan C, Zani DIVISION
2>OSITION OF APPLICANT SEARCH WARRANT DOCKET NUMBER
MA State Police Lieutenant

 

 

, the undersigned APPLICANT, being duly sworn, depose and say that:

1. | have the following information based upon the attached affidavit(s), consisting of a total of 10 pages, which
is (are) incorporated herein by reference, ined Fa tectre nts Theaedh %.

Based upon this information, there is PROBABLE CAUSE to believe that the property decribed below:
has been stolen, embezzled, or obtained by faise pretenses.
IX | is intended for use or has been used as fhe means of committing a crime.
X% | has been concealed to prevent a crime from being discovered.
is unlawfully possessed or concealed for an unlawful purpose.
X | is evidence of a crime or is evidence of criminal activity.
other (specify):

~

 

 

 

 

 

 

 

 

| am seeking the issuance of a warrant to search for the following property (describe the property fo be
searched for as particularly as possible).

Employee personel records and business records of North Shore Movers and Angel One Security. In addition the records are to
inctude but not limited to financial records, contracts, advertisements, payroll, and tax documents. The records will include both
computer generated and encased records and non-computer gernerated and encased records.

kad

4. Based upon this information, there is also probable cause to believe that the property may be found (check

as many as apply).
at (identify the exact location or description of the place(s) to be searched):
407 Walnut Street, Lynn MA a two story single family white colored dwelling with green shutters. The number 407 is

affixed over the front door.

which is occupied by and/or in the possession of.
Sean Murphy dob:7/19/64

on the person or in the possession of fidentify any specific person(s) to be searched):
Sean Murphy dob 7/19/64

on any person present who may he found to have such property in his or her possession or under his or her
control or to whom such property may have been delivered. .

THEREFORE, } respectfully request that the court issue a Warrant and order of seizure, authorizing the search of the above described
place(s) and person(s}, if any, to be searched, and directing that such property or evidence or any part thereof, if found, be seized and
brought before the court, together with such other and further relief that the court may deem proper.

| [have previously submitted the same application,

I have not previously submitted the same application,

{-)
PRINTED NAME OF arc SIGNED_UNPRR v N. ES-OF PERJURY
LT ‘ At C , ( xX

{Sigogivre of Applicant

SWORN AND SUBSCRIBED TO BEFORE ME :
TOT, ipp2]o9

Signature of Justice, + f Date

CTohaT. Lv)

 

 

 

 

 

 

 
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 4 of 45 PAGEID #: 420

COMMONWEALTH OF MASSACHUSETTS

AFFIDAVIT IN SUPPORT OF APPLICATION FOR A SEARCH WARRANT

1.

2.

I, Alan C. Zani, being duly sworn, depose and say:

I have been a Massachusetts State Police (MSP)
officer since 12/06/85. In August of 1989, I was
reassigned from the MSP Field Division to the Essex
County District Attorney’s Drug Task Force (ECDTF)
(based in Lynn and Lawrence}. in June of 1997, I
was promoted to the rank of Sergeant and remained in
the ECDTF. In January of 2004, I was promoted to
the rank of Lieutenant and was assigned as a Shift
Commander in the MSP Field Division. In July and
October of 2004, I commanded a Public Order Platoon
during the Democratic National Convention and Red
Sox Playoff Series in Boston. In November of 2004,
I was assigned to the MSP Special Services Unit/FBI
Bank Robbery/Violent Crimes Task Force (BRVCTF). In
March of 2007, I was placed in charge of the Suffolk
County District Attorney’s Narcotics Unit. In June
Of 2008, I returned to supervise the state police
assigned to the Bank Robbery Task Force. During my
MSP career, I have participated in numerous
investigations involving use and distribution of
Controlled Substances, assaults, larcenies,
kidnapping, extortion, firearms violations, armed
and unarmed robberies, prostitution and crimes
against persons. I have received the following
specialized training: Investigation of Controlled
Substance Use and Distribution (40 hour course,
while attending the MSP Academy}, Highway Drug
Interdiction (03/88, 24 hour course), Basic
Narcotics Investigation (10/89, 40 hour course),
Advanced Narcotics Investigation (04/90, 32 hour
course), DEA Sponsored Domestic Cannabis Eradication
(at Westover and Otis A.F.B., 08/90 and 08/91, both
40 hours courses), Concealed Compartments training
(03/00, 8 hour course), NENEOA sponsored Multi-
jurisdictional Narcotics Task Force Management and
Operations (09/98, 32 hour course), Hidden
Compartment training (05/01, 16 hour course),
Undercover Tactical Pistol training (MSP Academy,
09/02, 16 hour course), NENEOA sponsored Drug
Investigation training (11/02 8 hour course), FBI
Case12:11-cr-00010-GCS-E : i
; -EPD-Doc #: 113-1 Filed: 10/06/11 Page: 5 of 45 PAGEID #: 421

Street Survival Awareness (FBI Academy, 02/06, 32
hour course), and Street Crimes Investigations
(09/07, 24 hour course, sponsored by John E. Reid
and Associates), FBI Sponsored Undercover Training
(as an observer, one week course, 10/07). I have
attended various seminars/workshops concerning
narcotics enforcement and have been recognized in
the U.S. Federal District, Essex and Middlesex
Superior and District Courts repeatedly as an expert
witness in the area involving Controlled Substance
use and distribution. While assigned to the ECDTF
and BRVCTF, I have participated in all types of
electronic audio and video surveillances used in
apprehending felons and drug traffickers and am
familiar with the laws regulating these methods.

I respectfully suggest that the following
information contained in paragraphs 7-16 will
establish that Sean Murphy is a career criminal,
living at 407 Walnut St. in Lynn, owner of North
Shore Movers, 725R Summer St., Lynn, MA, and owner
of a black, 2007 Jeep Grand Cherokee bearing MA
Registration 43VK43. Paragraphs 17-19 will also
establish Rikkile Brown, 04/22/87 date of birth, as
being Murphy’s past and/or present girlfriend, who
is a conspirator in Murphy’s pill/stolen property
distribution, who lives at 1 Silver Leaf Way, Apt.
127, Peabody, MA, and the owner of a 2002 biack
Mercedes ML320 bearing MA registration NEG/DT.

Paragraphs 20-22 will summarize two commercial
breaks taking place at the Amerisource Bergen
Corporation, on 11/05/06, and at the B.A. Dion
Company, on 06/08/08.

Paragraph 23 will detail Murphy and Brown's
involvement in commercial breaks, including, but not
necessarily limited to, the 06/08/08 E.A. Dion break,
and details locations where the two maintain related
paraphernalia. More specifically, paragraph 23 will
detail how Murphy was involved, if not being the
ringleader of, at the very least, the E.A. Dion
burglary and how there is probable cause to believe
that Murphy and Brown are in possession of property
stolen from this and other breaks, profits derived
from this and other breaks, records (some computer
generated) related to and identifying conspirators
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 6 of 45 PAGEID #: 422

in these breaks, burglarious equipment used in these
and/or other breaks, and illicitly possessed
Controlled Substances, including, but not limited to
Heroin, a Class “A” Controlled Substance, and
Marijuana, a Class “D” Controlled Substance, both
earmarked for distribution. ,

6. Paragraph 36 and 37 will describe the locations and
person requested to be searched. .

7. Sean D. Murphy (Murphy), 07/19/64 date of birth, of
407 Walnut Street, Lynn, MA, is a career criminal.
More specifically, and besides displaying an ongoing
pattern of drug distribution throughout his criminal
career, Murphy is an accomplished commercial breaker,
preaking into high end commercial establishments and
burglarizing them of their assets. Offered in
support of these assertions are the following; A
copy of Murphy’s Massachusetts Driver’s License
information (Attachment A); Murphy’s Massachusetts
Criminal History (BOP), affixed as Attachment B;
Murphy’s multi - state criminal history (III), which
includes some, but not necessarily all, of Murphy’s
out of state criminal arraignments and convictions
(affixed as Attachment C); an FBI interview report
(302), affixed as Attachment D, written by this
writer, which reflects a 01/14/09 interview of
Thomas Enquist by FBI Special Agent Jason Costello
(who is also assigned to the FBI’s BRVCTF) and me.
Noteworthy in the interview is that Enquist recalled
a 1984 Saugus bicycle store robbery Murphy had
committed; a 12/18/08 Interview Report (Attachment &)
completed by Swampscott Police Detective Sergeant
Timothy Cassidy and implicating Murphy in recent ATM
breaks; a 09/25/06 letter Murphy sent to Costco
Management in the State of Washington (Attachment F).
Noteworthy in the letter is Murphy’s admission of
having committed burglaries on Costco warehouses.
Although Costco delivered the letter to the FBI,: the
company chose not to be involved in any further
criminal investigation.

8. This Costco solicitation/letter was later connected
to a 10/17/04 Costco Wholesale Warehouse, Montgomery
Township, PA, burglary, where a cell phone jammer (a
device used to jam/interfere with local cellular
transmissions, utilized by high end burglars to
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 7 of 45 PAGEID #: 423

10.

11.

12.

13.

defeat alarm system cellular phone alert backups)
was used and entry was gained through the ceiling.
Murphy was eventually charged with this burglary and
later convicted (on 06/03/08) on charges related to
the burglary. Noteworthy is that during plea
bargain negotiations, Murphy offered, for a fee, to
train law enforcement regarding his knowledge of
commercial breaks. (Montgomery Township Police
report relating to this investigation is affixed as
Attachment X)

FBI S/A Costello’s 01/19/09 computer query of the
Massachusetts Movers Association lists North Shore
Movers of Lynn as having an address of 407 Walnut
St., Lynn, MA. Sean Murphy is the listed contact,
and the contact number is (781) 599-0036 {Attachment
M). Noteworthy is that this number is the same as_
being the contact number listed on the Costco
solicitation letter.

FBI S/A Costello’s further computer inquiry revealed
North Shore Movers website, which lists 407 Walnut
St., Lynn, MA as the business address and 725R
Summer St., Lynn, MA, as the warehouse location
{Attachment N).

On 10/30/06, Sean Murphy successfully petitioned the
City of Lynn Zoning Board of Appeals to list 407
Walnut St. for the “Home Occupation of Office for
Moving Company and Security Consultant Business”
{Attachment 0}.

On Friday, 01/02/09, FRI Costello and I observed
Sean Murphy being driven away from 407 Walnut St.
S/A Costello later observed Murphy and his companion
at 725R Summer St. Affixed.as Attachment Q is 3/A
Costello’s report (302) reflecting these and other
observations.

Noteworthy besides Murphy’s criminal convictions, is
that Murphy’s license data, BOP and ITI (on page Cc-
11} all list Murphy's residence as being 407 Walnut
St. in Lynn, MA. In further support of this
location being Murphy’s residence is that, on an
occasion during the week of 01/04/09, FBI Special
Agent Jason Costello and I walked to the rear door
of 407 Walnut St. and knocked on the door. We
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 8 of 45 PAGEID #: 424

received no response, but I noted a sign, which read
“The Murphy's,” hung over the outer door. Also
noted during this visit and previous recent
surveillances was a sign, advertising “North Shore
Movers,” affixed to a tree in the front yard.

Also noteworthy on page C~-11 of Murphy’s IIT is
“North Shore Movers of Lynn 407 Walnut St., Lynn,”
as being listed as Murphy's employer.

Noteworthy, too, is that, on page B-1 of Murphy’s
BOP, is an expired Restraining Order, listing a

On repeated occasions during the months of November
and December of 2008 and January 2009, FBI S/A
Costello and I have either driven past 407 Walnut St.
in Lynn and/or 725R Summer St. in Lynn (the business
warehouse for North Shore Movers}. On repeated
occasions $/A Costello and/or I have noted a black
2007 Jeep Cherokee (bearing MA registration 43VK43}
parked at these locations. A check of this
Massachusetts registration revealed it to be
registered to Sean D. Murphy, 407 Walnut St., Lynn,

During a March to August of 2007 Federal Wiretap
Investigation {T-3), ATF Special Agent John Kelter
4dentified Rikkile Brown, 04/22/87 date of birth, as
being Sean Murphy’s then girlfriend. The T-3 also
intercepted (audio taped) evidence of Brown involved

 

in—selling-Vicodins and other prescription pills to
the T-3's target, Josh Richard. Also taped is Sean
Murphy, implicating Brown, himself and John Fleury
(aka: “Johnny Rotten”) in the pill distribution.
Brown's Massachusetts Drivers License Data and BOP
are affixed as Attachment H. S/A Kelter also |
identified a black 2002 Mercedes ML320 {bearing MA
registration NEG7DT) Brown owns (Attachment I).

14.
15,
Rikkile Brown as the Plaintiff.
16.
MA (Attachment G}.
17.
1B.

Noteworthy is that, although Brown lists her license
address as being 48 Cannon Rock Rd., in Lynn, FBI
S/A Costello has determined this location to be the
address belonging to Brown’s aunt. S/A Costello’s
further investigation (including the months of
November and December, 2008 to present) revealed
Brown's Mercedes to repeatedly be parked at 1 Silver
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 9 of 45 PAGEID #: 425

19.

20.

21.

22.

Leaf Way in Peabody. S/A Costello’s 11/06/08 AT&T
cell phone subscriber check revealed Rikkile Brown's
billing address to be listed as 1 Silver Leaf Way,
Apt. 127, Peabody, MA (Attachment J). On 11/21/08,
S/A Costello observed the Mercedes parked by i
Silver Leaf Way. Speaking to building Thanagement
and observing its tenant roster on that date, S/A
Costello learned that Rikkile Brown was listed as
the tenant for Apt. 127 at 1 Silver Leaf Way,
Peabody, MA. As late as December of 2008,. S/A
Costello spotted a female believed to be Brown park
the Mercedes by 1 Silver Leaf Way and enter the
building.

On 10/18/08, a Domestic Dispute between Sean Murphy,
Rikkile Brown and Jordayne Hartman at 407 Walnut St.,
in Lynn, MA, resulted in Murphy’s being charged with
Domestic Assault and Battery and Cultivating
Marijuana. Affixed as Attachment K is responding
Lynn Police Officer John Mackin’s Investigative
Report and the related Lynn District Court Complaint.

On 11/05/06, the Amerisource Bergen Corporation, 101
Norfolk St., Mansfield, MA, a pharmaceutical
distributor, was broken into. Telephone (T-1} lines
were cut and entry was gained through a hole cut in
the roof. Estimates indicate that over 1.8 miilion
pills, including Hydrocodone, Cialis and other —
Scheduled Controlled Substances were taken.

On 10/13/07, Attleboro, MA, Police Giscovered a cell

—phone—jamner,—a—device, which is_iliegal to use to

interrupt radio/wireless transmissions (see 47 USC
sec. 333) in the United States and which, when
activated, continuously jams/interrupts nearby cell
phone transmissions, in the woods near the Jostens
Jewelry Company.

On 06/08/08, the B.A, Dion Company, which is located
near Jostens Jewelry Company and is also in
Attleboro, MA, was broken into and burglarized.
Telephone lines were cut, the cellular backup alarms
were somehow defeated, and access was gained through
the roof. Stolen during this break were jewelry,
precious metals and gems worth an estimated 2.5
million dollars. Noteworthy that also taken in this
break were Super Bowl rings for the New York Giants
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 10 of 45 PAGEID #: 426

23.

24.

25.

26.

that E.A. Dion had been contracted to produce. A
news story related to the break is affixed as
Attachment P.

On Wednesday, 01/15/09, S/A Costello, MSP Trooper
John Strazzullo and I interviewed Jordayne Hartman
at the Woburn District Court. Hartman is listed as
a witness in-Murphy and Brown's 10/18/08 domestic
abuse Lynn Police Report. Affixed as Attachment L
is S/A Costello’s Investigative Report (302)
reflecting the interview. Additionally learned
during the interview is that Rikkile Brown is five
months pregnant with Sean Murphy's child.

On the evening of Monday, 01/19/09, S/A Costello
observed 1 Silver Leaf Way, Peabody, MA, to be part
of the “Highlands at Dearborn” apartment complex.
This apartment building, numbered “1” is a beige
colored, three story, multiple unit dwelling with
white and black shutters. There are two front outer
doors, with the one to the left accessing apartment
127. The green colored door to apartment 127 is on
the second floor, having “127” affixed to it anda
doormat, stating “Come Back with a Warrant,” on the
floor in front of it.

Special Agent Costello’s subsequent 01/20/09
observations of 407 Walnut St. and 725R Summer St.,
lynn, MA, are the following: 407 Walnut St., Lynn,
MA, is located on the corner of Walnut St. and
Revere Avenue in Lynn. It is a two story, white

—eolered-single—family dwelling with green shutters. _ _

The front door has the number “407” affixed over it,
and the rear door, which can be accessed from Revere
Avenue, has a sign, stating, “The Murphy's” over it.
725R Summer St., Lynn, MA, is inside a beige colored,
multi use commercial building, which is located at
the intersection of Summer and Ashland Streets in
Lynn, MA. The door accessing 725R Summer St. is
facing Ashland St. and has “North Shore Movers of
Lynn” affixed over it.

During S/A 01/20/09 observations of 407 Walnut St.,
S/A Costello noted Murphy’s black Jeep Grand
Cherokee parked next to the address, on Revere
Avenue. Later in the morning, I drove past the
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 11 of 45 PAGEID #: 427

27.

28.

29,

30.

31.

address and noted Murphy’s Jeep to still be parked
at the location.

Sean Murphy’s black colored, 2007 Jeep Grand
Cherokee bears MA registration 43VK43 and VI#
LIBHR78317C5087995.

Rikkile Brown's 2002 black colored Mercedes ML320
bears MA registration NE67DT and VI#
4JGAB5 4E02A309316.

Later on Tuesday, 01/20/09, S/A Costello and I met
with PBI Special Agents assigned to its satellite
Lakeville Office, Attleboro and Mansfield Police
Detectives. During this meeting, FBI S/A Brian Zinn
provided me with a working copy of an interview
report (302), completed on 02/20/07 (the report is
affixed as Attachment R). This report reflected an
interview of Anthony Cataldo, who I have arrested in
the past and who is presently serving a sentence in
New York on pharmacy burglary related charges.
During the interview, Cataldo implicates Murphy,
John Fleury and Thomas Enquist in the 11/05/06
Amerisource pharmaceutical burglary.

During this meeting, FBI 5/A Charles Cabral also
provided me with the related Attleboro Police
Incident Reports and the E.A. Dion inventory list,
approximating the items stolen during the 06/08/08
burglary. These reports and inventory are affixed
as Attachment 8.

Noteworthy on Rikkile Brown's BOP {Attachment H,
page H-3) is the listing of “Dennis Brown” as being
her father. In January of 1990, as a Trooper
assigned to the Lynn Drug Task Force, I assisted
members of the Bureau of Alcohol and Tobacco and
Firearms in arresting Dennis W. Brown, 10/04/51 date
of birth, and his accomplice, Byron Vorgias, on
Firearms Possession and Morphine Distribution
charges. Years later, and while still assigned to

-the Lynn Drug Task Force, and during a separate drug

investigation, I had contact with Dennis Brown in
the third floor apartment at 36 High Rock Street in
Lynn. During that interaction, Brown and I spoke of
his previous arrest. Brown also stated that the
location we were at was his residence. Dennis Brown
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 12 of 45 PAGEID #: 428

32.

33.

34.

35.

36,

has since died, but a copy of his Massachusetts
Driver's History and his BOP are affixed as
Attachment T. Noteworthy on the Driver’s History
and BOP are that both list 36 High Rock St. in Lynn
and Dennis Brown's residence. Also noteworthy is
that the BOP lists Dennis Brown’s mother’s maiden
name as “Mary Harrigan.”

A further check with the Registry of Motor Vehicles
revealed five (5) people to have active drivers
licenses listing 36 High Rock St. in Lynn as their
address: (Aforementioned) Dennis W. Brown, 10/04/51,
Dennis W. Brown, 05/04/86, Mary E. Brown, 03/29/29,
Paul A. Brown, 06/18/55, and Karen Miller, 08/15/67.
Affixed as Attachment U is a copy of this listing
and Mary Brown’s license data.

Attachment W represents an online Essex Registry of
Deeds query, where, on 04/12/02, a Mary E. Brown,
listed a Paul A. Brown and a Dennis W. Brown the
inheriters of 36 High Rock St. in Lynn, MA.

On the morning of Wednesday, 01/21/09, I observed 36
High Rock St. in Lynn. I found the address to be
three stories in height, with the first floor facade
brown in color and the second and third floor
facades having yellow colored shingles. The number
“36” affixed to the front porch/stairway.

Also on 01/21/09, FBI $/A Costello spoke with the
building management for the apartment complex at 1
Silver Leaf Way in Peabody. S/A Costello learned
that Rikkile Brown still rented Apt. 127 and listed
her employer as North Shore Movers of Lynn, 407
Walnut St., Lynn, MA. Sean Murphy signed a
verification of employment letter. A copy of S/A
Costello's report (302) is affixed as Attachment V.

Based upon the information listed herein, it is my
opinion that evidence related to the E.A. Dion
burglary, including, but not limited te jewelry and
burglarious equipment; as well as evidence relating
to the past and ongoing conspiracy to commit
burglary, including but not limited to employee
personnel records, which may be computer generated
and/or encased, for North Shore Movers and Angel One
Security, are at 407 Walnut Street, Lynn, MA, and
 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 13 of 45 PAGEID #: 429

425R Summer Street, Lynn, MA. It is also my opinion
that Heroin and Marijuana, Class A and D Controlled
Substances, both earmarked for distribution, are
inside Sean Murphy’s 2007 black Jeep Grand Cherokee.
It is further my opinion that evidence linking Sean
Murphy to these locations and vehicle is on the
person of and in the possession of Sean Murphy
(including but not limited to access keys and/or
electronic access cards).

37. It is further my opinion that evidence related to
the E.A. Dion break, including, but not limited to
an NFL Giants Superbowl Ring, evidence related to
the past and ongoing conspiracy to Receive Stolen
Property, including, but not limited to personnel
pay stubs and/or tax records reflecting employment
at North Shore Movers, is at i Silver Leaf Way,
apartment 127, Peabody, MA and on the person of
Rikkile Brown and in her 2002 black Mercedes ML320.
In addition keys and documents relating to dominion
and control of apartment and vehicle.

38. Therefore I respectfully request the Court issue
Orders of Search and Seizure for these locations,
commanding the seizure of the described property.

39, Signed under the pains and penalties of perjury this

wlth day of Whv-t"7 , 20.49
ch QS A 455 2

 

Lieutenant Alan C. Zani, Massachusetts State Police

(“= aa BEESON LLY appeared beferemethis—date 220d day of

Jannarg , 2069.

The above named, Alan C. Zani and made oath that the

rokege tas Queries’ by him is true.

Justice /GlerkMagistrate/Asststant Cierk Magistrate
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 14 of 45 PAGEID #: 430

EXHIBIT 1

72D-302 (Rev. 10-6-95}

 

-l-

FEDERAL BUREAU OF INVESTIGATION

Date of transcription 01/19/2009

FORDAYNE HARTMAN was interviewed at the Woburn District
Court by the undersigned personnel. Massachusetts State Police
Trooper John Strazzullo was also present for a portion of the —
interview. After advising HARTMAN of the identities of the
undersigned personne?l and the nature of the interview, HARTMAN
provided the following information:

In approximately August 2007, HARTMAN met JULIE IWANIKE
(sp}. while. the two were being treated for heroin addiction at
the Center for Addictive Behaviors (CAB} in Danvers, MA.
HARTMAN and IWANIKE became friends, and following their
discharge from CAB, HARTMAN went to stay with IWANIKE. It was

then that HARTMAN fiest met SEAN MURPHY, of 407. Walnut Street, _

Lynn, MA. IWANIKE would have sex with MURPHY in an outright
exchange for heroin or a deep discount on the heroin's normal
street value. For example, IWANIKE would get $100 worth of
heroin for $20. When IWANIKE and HARTMAN needed heroin, IWANIKE
would call MURPHY and he would come to her house in Kis Jeep
Cherokee to do the transaction. He would always keep multiple
"fingers" (bulk quantity) of heroin in the upper console of the
vehicle and marijuana in the center console. HARTMAN parted
company with IWANIKE after approximately two weeks.

BRlso through TWANIKE, HARTMAN met RIKKILE BROWN. BROWN
was MURPHY's girlfriend. BROWN was addicted to prescription
narcotics (Oxycontin, etc.) which she obtained from MURPHY.

HARTMAN became friends with BROWN.

Sometime in September 2007, MURPHY called HARTMAN and
wanted to get together with her. HARTMAN had a boyfriend, but
was secretly trying to maintain a heroin habit. She decided to
start seeing MURPHY unbeknownst to-hex—boyfriend:.and-MUREHY.-
began supplying her with heroin in’éxchange for sex. MURPHY was
supplying HARTMAN with at least $300 worth of hergin.per day.
Anytime she needed money, MURPHY! would hand her at. least. two

5100 bills . PoOTRR TT ST Sa mt ory

For Christmas, MURPHY gave HARTMAN $2000,.,.As her
heroin habit had grown significantty, she~spent the money-on the
course of two days on heroin. At that point, she needed more
than what MURPHY was supplying her with.

 

Investigation on 01/15/270n3 at Wohurn, MA

File # G7T-RS-1TO069R Date dictated N/T

by

SA Jason D. Costello/jc
LT Alan Pani
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 15 of 45 PAGEID #: 431

D-302a (Rev. 10-6-95}

92T-BS-100698

ontinuation of FD-302 of JORDAYNE HARTMAN ,On OL f 1 S/ 20 0 9 , Page 2

 

In approximately January 2008, HARTMAN moved in with
MURPHY and BROWN at 407 Walnut Street. BROWN believed that
HARTMAN was moving in with her, apparently unaware of the
existing sexual relationship between HARTMAN and MURPHY.
HARTMAN still maintained her relationship.with-her existing. «az
boyfriend.

 

In approximately February 2008, HARTMAN came home (407
Walnut Street) and found the front door open. ‘As she approached
the door, a unidentified 25 - 27 year old, white, "Spanish
looking" male, with dark hair and dark eyes, came out of the
house. He Hurriedby: told HARTMAN that MURPHY was being . ——
questioned by the police and that he (the unidentified male) a
need to find the “jammer” and get it out of the house before the
police came and found it. HARTMAN did not have any idea what
the male was talking about. He then fled the area in a gray or
white pickup truck with work racks on the back of it.

MURPHY came home a little while later. He was
preparing to go smoke Marijuana with a friend.ef- his, a white
male who goes by the nickname of DAMIEN. HARTMAN described
DAMIEN as approximately 40 years old, tall and thin. Last year,
DAMIEN was beaten badTy because he owed people money for drugs.
His head was crushed and he was left for dead in the trunk of
his car. Because of this, he appears to have brain damage.

Administrative noté: DAMIEN is beli yed to be DAVID NASSOR.....
NASSOR matches HARTMAN's physical description. On August 8,
2008, NASSOR was badly beaten, wrapped in a blanket;- and left in
front of a Lynn hospital. NASSOR suffered brain hemorrhaging, as

a result. Beppe pie

1 OES

| BOHRA ESSEE
HARTMAN told MURPHY about |the incidenm earlier in the
ee eoke ‘fox the--jammer:-

 

 
 

   
 
   

day with the male in the house and i eh-

MURPHY went crazy. He told her that the male must have been
working for JOHN FLEURY, aka ROTTEN. MURPHY explained that he
and FLEURY had committed a burglary involving a Large amount
prescription narcotics (pills). Sometime in the summer of 2007,
FLEURY subsequently stele approximate  Yedl, 000,000 worth of the
pills from MURPHY. Bt. that time,:MURPHY cut FLEURY off from
participating in fiture burglaries and spread the word on the
street that FLEURY was-not to be trusted. Because of the
burglary, FLEURY knew about the equipment MURPHY had to defeat
alarm systems. MURPHY believed that the incident stemmed from
FLEURY wanting to get the equipment. Later that night, MURPHY
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 16 of 45 PAGEID #: 432

D-302a (Rev. 10-6-95}

92T-BS-100698

ontinuation of FD-302 of JORDAYNE, HARTMAN ,on 01/15/2005 _, Page 3

had “everyone” come to the house so that HARTMAN could identify
who she had seen. HARTMAN did not recognize any of the people
MURPHY summoned.

Later, HARTMAN asked MURPHY what the male had been
looking for. He advised that it was a good thing that she had
not mentioned the warehouse. When she did not understand, he
explained that the equipment that he used to commit his
burglaries was kept in his moving company's warehouse.

In approximately March 2008, MURPHY took HARTMAN to the
warehouse. Ha showed her plack "ninja suits" worn by MURPHY and.
his accomplices during their burglaries. He showed her climbing
ropes used to enter the buildings from holes cut through the
roofs. He then showed her "the jammer". He explained that the
jammer was used to jam cellular phone signals in the area of the
burglary. This was done to prevent the building's backup alarm
system, based on celluiar phones, to function following he and
his accomplices cutting the building's phone lines. MURPHY

“—“"  Gameanstrated the functioning of the device to HARTMAN. HARTMAN
described the jammer as looking like a cable television box
approximately the size of a small suitcase. The device had a
dial on the front of it along with several gauges or meters and
several: switches. Rope like cables protruded from the device.
HARTMAN sketched the device and provided the drawing to the
writer. MURPHY told HARTMAN that] the. jammer had-te-be.bonght
from overseas and that it was incredibly expensive. He onde had
to replace a switch on it. The gingle part cost Himes 7000,

 
 

MURPHY told HARTMAN that’a' typical bur
done after researching a target and conduc mg :-mulfipte* |
reconnaissance trips to the area -~A burglarycrew.would consist
of approximately five people. MURPHY and two othérs would go up
on the roof of the building to disable the alarm systems and
make entry. MURPHY generally uses two individuals that "work"
for him and his moving company. JOSE Last Name Unknown (LNU} is
one the individuals. One or two others would be used as drivers

and lookouts. DAMIEN will fill that role.

HARTMAN advised that the moving company will provide
some limited moving services in order to make the company appear
legitimate. The warehouse does contain what appears to be
property that is being moved and/or stored. The equipment shown
to HARTMAN is somewhat concealed by this property. HARTMAN
described the warehouse by completing @ sketch of it which sne
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 17 of 45 PAGEID #: 433

3-302a (Rev. 10-6-95)

92T-BS-100698

ontinuation of FD-302 of JORDAYNE HARTMAN ,On O1/15/2009 _, Page 4

 

provided to the writer. She advised that an inner dodéd¥“Secured
by multiple deadbolts and an electronic card reading lock
separates the entry hallway from the main warehouse. In the
main warehouse is a computer that MURPHY uses to identify and
research his potential burglaries.

HARTMAN frequented the warehouse from March 2008,
through approximately September 2008.

While HARTMAN lived with MURPHY, he would often leave
for a few days to go check out a potential burglary out of
state, - WAREMAN was aware that Pennsylvania was a favorite. wes
destination of MURPHY'S.

Money had gotten a little tight for a while in the
spring/summer of 2008. In approximately July 2008, MURPHY said
that was going to do a burglary in Pennsylvania. He told
HARTMAN that when he got back they shouldn't be poor anymore.

He left on a Thursday night. She went to stay with BRIAN
STEVENS for the weekend. STEVENS was HARTMAN's boyfriend at the
time. When she returned on Sunday, MURPHY was back. The bed
was covered with jewelry and gold bars. HARTMAN saw
approximately 12 Super Bowl rings, along with rings with various
company insignia. MURPHY gave HARTMAN one such ring, a gold
ring with a red ruby, bearing the "Radio Shack" logo. He also
gave her a gold bracelet and necklace from the take. He
instructed her never to try to pawn fhe Ftems as- they. would be
easily linked to the burglary. MURPHY described the target of
the burglary as a jewelry manufacturer ‘and/or: gold-melting

operation. . i Soc geemace |

MURPHY split the jewelry in half. He t6ok “one Malf to
give to his accomplices as theirshare of the take», The giacr
malt was taken by HARTMAN and BROWN to be Hidden at BROWH s
grandmother's house in a safe in the bedroom that BROWN
maintains there. HARTMAN remembers taking two full backpacks of
jewelry there. HARTMAN advised tHat there is approximately - _
$1,000,000 worth of stolen jewelry at BROWN's grandmother's — oe
house. MURPHY explained to HARTMAN that the jewelry could not
be fenced for a long time because it teuld be easily identified.

 

BROWN has one of the Super Bowl rings. She generally — ZC
keeps it in her purse as she is afraid to leave it apywhere, #87" ~ Be
Either MURPHY gave it to her or she stole ft °fFrom-hime’ 7 .
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 18 of 45 PAGEID #: 434

)-302a (Rev. 10-6-95}

92T-BS-100698

yntinuation of FD-302 of JORDAYNE HARTMAN , On o1 / 15 i 2009 , Page 5

MURPHY used HARTMAN'S celiuiar phone on occasion to
make rental truck reservations prior to the burglaries. Rather
than use his company trucks, he would rent them from New
Hampshire and use them for the burglaries. MURPHY may have done
this prior to the aforementioned jewelry burglary. She
remembered dialing the number for him and him using the name
FRANK when identifying himself to the person he was speaking
with. HARTMAN's phone number at the time was 603-973-6122.

MURPHY has a fake Massachusetts license in the name of
PATRICK LNU.

=

4 gee

MURPHY's phone number is 781-443-3303. He told HARTMAN
never to call him, even i£ the house were purning down, while he
was out scouting oF doing a burglary. She remembers defying him
and repeatedly calling him anyway.

In October 2008, BROWN got into a fight with MURPHY.
BROWN scratched "sZUT" onto the hood of MURPHY's Jeep because
she was mad that he was sleeping with women besides her. MURPHY
punched BROWN a few times and then ran away from the house
before the police arrived. When the police came, they
confiscated a large marijuana plant that MURPHY had been

growing.

 

 
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 19 of 45 PAGEID #: 435
EXHIBIT 2

 

COMMONWEALTH OF MASSACHUSETTS

BRISTOL, $8. SUPERIOR COURT

GRAND JURY

IN THE MATTER OF: SM INVESTIGATION

APPEARANCE: Garrett Fregault,
Assistant District Attorney
Bristol County
District Attorney's Office
888 Purchase Street
New Bedford, Massachusetts 02740
Representing the Commonwealth.

PLACE: Fail River Durfee Complex
Grand Jury Room
289 Rock Street
Fall River, Massachusetts 02720

DATE: Wednesday, June 17, 2009

YVETTE J. PERRY
Certified Court Reporter
Office of the District Attorney

Bristol District

888 Purchase Street
P.O. Box 973

New Bedford, Massachusetts 02741-0973

(508) 997-O711

 

 

 
 

 

 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 20 of 45 PAGEID #: 436

 

(REPORTER'S NOTE: If this transcript contains
certain quoted material, such material is reproduced as
read or quoted by the speaker.)

 

INDEX
WITNESS DIRECT CROSS REDIRECT RECROSS
Andrea LeBlanc
By Mr. Fregault 3
Jason Costello
By Mr. Fregault 33,44
Detective Richard Campion
By Mr. Fregault 46

EXHIBITS

 

 

FOR IN
NO. DESCRIPTION I.D. EVID
1 Disk 3
2 Photograph 9
3 Photograph 10
4 Letter - 28
5 Phone records 44

 

 

 

YVETTE J. PERRY
COURT REPORTER
a)

 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 21 of 45 PAGEID #: 437

10

Ti

12

13

14

15

16

17

18

19

20

2]

22

23

24

 

 

PROCEHEEDINGS

 

MR. FREGAULT: Ladies and
Gentlemen, I'm going to have marked before
you a CD Rom that contains digitized copies
of the grand jury minutes from the SM
investigation which this grand jury heard
earlier in its sitting. It also contains
ali of the exhibits that were entered at
that hearing, approximately 31 or 32
exhibits. The exhibits comprise of
photographs, prior testimony before a grand
jury, as well as a lot of different
records, some bank records, phone records,
as well as some business records. So the
aigitized copy -- this disk contains a
digitized copy of all that information.

May I have that marked as Exhibit
1?

{Exhibit 1, Disk; marked into
evidence.)

Andrea LeBlanc, Sworn

 

DIRECT EXAMINATION

BY MR. FREGAULT:

Q. Would you please state your name, spelling

 

YVETTE J. PERRY
COURT REPORTER

 
 

 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 22 of 45 PAGEID #: 438

be

16

11

12

13

14

15

16

17

18

13

20

21

22

23

24

 

 

your first and last name.

Andrea LeBlanc, A-N-D-R-E-A, L-E, capital B,
L-A-N-C.

How old are you, ma'am?

Twenty-one.

And what do you do for school?

I am a nursing student at the Chelsea
Nursing School.

When do you graduate?

Hopefully in a month.

What is your degree going to be when you
graduate?

I will be an LPN.

Then you have to sit for some boards; is
that correct?

Yes. I take my boards hopefully in July,
August, or September,

And what's your highest level of education
other than nursing school?

I got my high school diploma, and I did a
year and a half at Salem State.

When did you graduate high school?

In 2006.

You did a year and a half in Salem State?

 

Y¥VETTE J. PERRY
COURT REPORTER

 
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 23 of 45 PAGEID #: 439

 

 

 

I-11

1 A. At the warehouse.

2 @G. Now, the warehouse, is that separate from

3 the business office?

4 A. It's the same, it's right in the same place.
5 Q- So it's your understanding that Joe Moe, the
6 person in Exhibit No. 3 right there, had

7 items stored at North Shore Movers?

8 A. Yes.

9 Q. And would it be fair to say that you had
10 seen Joe Morgan go there to access the

11 storage?
i2 A. Yeah,
13 Q. Okay. Between February, January and

14 February of 2008 until, say, about May ox
15 June of 2008, what was the pace of business
16 like at North Shore Movers?
1? A. Fairly siow, mostly weekend jobs.

18 Q- And petween that period, that about

193 Six-month period, do you know about how much
20 money North Shore Movers generated?
21 A. I would have to look. I don't know.
22 Q. But would you be the person who was in
23 charge of the books at that period of time?
24 A. I was recording all the jobs, yes,

 

YVETTE J. PERRY
COURT REPORTER
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 24 of 45

10

11

12

13

14

15

16

Ll?

18

19

20

21

22

23

24

PAGEID #: 440

 

 

me

I-12
Are you able to give the grand jury an
estimate of about how many jobs per month
North Shore Movers would do on average in a
six-month period?
Monthly I'd have to say no only because July
we do so many more jobs than in April. Over
the year I can tell you we probably did 4 to
500 jobs.
Okay. On an average year?
That was the only year I worked there, so [I
don't know.
But it's your understanding that the
business had slow periods and busy periods?
Uh-huh, yes.
The busy periods were usually when?
Spring, summer. Fall it began to slow down.
But it would also be true that between
January and February to June the business
still had jobs?
Yeah.
And you were required to pay the employees?
Uh-huh.
You have to say yes or no.

Yeah, sorry.

 

 

YVETTE J. PERRY
COURT REPORTER
 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 25 of 45 PAGEID #: 441

 

 

 

I-25

i Movers?

2 A. After I spoke with Agent Costella.

3 Q. All right. So we're talking the end of

4 March?

5 A. March.

6 @. And why was it you stopped working with

7 North Shore Movers?

8 A. I was under the impression that it was not
9 for my best well-being.
id Q- Did you have concerns about the legitimacy
11 of the business?

12 A. North Shore Movers I still believe was a
13 legitimate business. J put all the
14 paperwork through, and on all his jobs
15 people called me. I think the business is
16 legit, but I just don't want to be involved.
1? Q. Okay. But it's your understanding that

18 prior to you beginning working there in

19 2098, Millennium Movers was no longer in
20 business?
21 A. Right.
22 Q. And that Millennium Movers was the precursor
23 company to North Shore Movers?
24 A. Right.

 

YVETTE J. PERRY
COURT REPORTER
 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 26 of 45 PAGEID #: 442

 

T-26

1 QO. And as far as you're aware, North Shore

2 Movers, were they ever in a position to be
3 doing anything with Millennium Movers in

4 2008?

5 A. No.

6 Q. Just hang on for one moment, please.

7 (Pause)

3 Q. I have a couple of more questions. Are you
9 aware that Murphy had been arrested at one
10 point?

ll A. Yes.

12 OQ. And did he also contact you concerning his
13 business after he had been arrested?

14 A. When he was arrested in January,

15 Q. The end of January of this year?

16 A. Yes. He called me from the Lynn Police

L7 Station asking me to switch over the phone
18 lines.

13 ®. What did that mean?
20 A. That meant go out to his house on Walnut
21 Street with a 599-0036 phone number.
22 Basically you press Star 73 and swap the
23 phones so it rings to my cell phone so I
24 would get all the business calls.

 

 

 

YVETTE J. PERRY
COURT REPORTER
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 27 of 45 PAGEID #: 443

EXHIBIT 3

 

 

  
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 28 of 45 PAGEID #: 444

 

= tg a = - Sie

 
 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 29 of 45 PAGEID #: 445
Page ] of 1

‘' EXHIBIT 4

 

i | ie ar te, —
" aA For ee CEO ¥E SLL lo ject
| 7 LOC fn Zt

ca Buran Htotheynci

Autor sce bcs La
Wig eg

=: eed NZE the (4 BOVE Person
Heo Nese (VOM +

“>
Co Chexce E. Ber. 4
3/13 feF

hitps://170.154.2 3iiejisweb/images/licenses’ /00646C0C jpg 3/12/2009
 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 30 of 45 PAGEID #: 446

EXHIBIT 5

12/18/08

To: Lt Alan Zani Mass State Police
From: Sgt Timothy P Cassidy

RE: Interview

Lt.Zani today 12/18/08 I spoke to a party that wished to remain anonymous, this party
told me that Shawn Murphy of Lynn a known pharmacy breaker was very active in
breaking into ATM’s and pharmacies in the area by using alarm jamming-devices he
purchased from Russia. This party said that Murphy has been training all of the breakers
in Lynn on how to use these jamming devices. This party told me that Ernie Rogers
another known pharmacy breaker had cailed him in the past and asked him if he wanted
to help with some pharmacy breaks. This party states, that he was not involved in any
recent breaks. This party did appear very nervous while speaking to him about the recent
break in at the Walgreens in Swampscott on November 9° 2008

Respectfully

Sgt. Timothy P Cassidy

 

 
 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 31 of 45 PAGEID #: 447

EXHIBIT 6

PDD-302 (Res TO- 6-95)

-I-
_ —_.

FEDERAL BUREAU OF investication(. 7
coy a if

Bate of transcription O1/16/2099

On Wednesday, 01/14/09, at approximately 3:15 PM, New
Hampshire Parole Officer Chris Regan, FRI S/A Jason Costello and
this writer met with (parolee) Thomas ENQUIST (04/01/68 date of

birth} .

At the interview's onset, we identified ourselves and
che nature of our inquiry. We also advised ENQUIST that the
interview was to be audio taped. This writer further advised
ENQUIST that, although he was not under arrest, this writer
would read a Miranda’ warning and then request ENQUIST do so.
ENQUIST confirmed he could read, and this procedure took place,
with ENQUIST signing the warning (Included in the 2A portion of
this file). ENQUIST expressed a willingness to speak with us.

When confronted with information relating him to
committing commercial breaks with Sean MURPHY and John FLEURY,
ENQUIST denied this. When asked, ENQUIST stated that the last
time he had observed MURPHY was in 1994, in Curwin Circle in
At that. time, according to. ENQUIST, MURPHY had just

Lynn.
broken into a bicycle shop in Saugus and was selling the stolen
bicycles. ENQUIST stated that he had written (prison to prison)

correspondence with MURPHY in 1996, but did not have personal
contact with him. When asked if he had contact with MURPHY
within the past three years, ENQUIST repeatedly denied he had

such contact with MURPHY.

When asked about contact with FLEURY, ENQUIST stated
that FLUERY's girlfriend, Melissa (FALASCA) had at some point
come with her child to live at his (ENQUIST's) New Hampshire
residence. FLEURY had once called the residence from the
Middleton Jail/House of Correction and came up to retrieve
FALASCA and their child after he got out. When asked, ENQUIST
estimated that this happened in December (of 2007) Réeferging
to FLEURY's visit as being "a year and a half ago," ENQUIST
repeatedly stated that this was the Last: contact’ ne fad with

FLEURY. ne |

t
having -committiead commercial
“We spoke further

  

ENOUIST repeatedly deniéd
breaks with Sean MURPHY and/or John FLEURY...
and ended the interview.

Investigation on 01/14/09 a Derry, NH Police Dept.

File ¥ 92T-BS-100698 Date dictated 01/16/03
MSP Lt. Alan C. Zani, # 2092

mh FBI S/A Jason Costello
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 32 of 45 PAGEID #: 448

= EXHIBIT 7

---- Working Copy ---~- .Page 1

02/20/2007

ANTHONY CATALDO (PROTECT SOURCE), date of Jbirth (DOB)
March 4, 1967, social security account number (SSAN) 569-223-9408,
1842 Voshage Street, Baldwin, New York (NY}, was interviewed at his
attorney's office, Attorney Jay C. Sherman, Esq., 70 Spring Street,
Ossining, NY, pursuant to a proffer agreement with the United —
States Attorney’s Office, District of Massachusetts, Boston,
Massachusetts (MA). Present during the interview was Mansfield
Police Detective Michael Ellsworth, and CATALDO’S attorney Jay C.
Sherman, Esq.:

CATALDO heard about the break-in at AMERISOURCE, in
Mansfield, MA, either through an on-line resource or another media
outlet. CATALDO was in New York when he heard about the break-in.

FLEURY spoke to CATALDO in May or June of 2006 about
doing some jobs to make some money. CATALDO declined because he
wag recently released from prison and was on probation. CATALDO
has not spoken to FLEURY since the end of November.

re

CATALDO had spoken to JOHN FLEURY approximately six
months ago when FLEURY told CATALDO that SEAN MURPHY had "beat" a
case in Pennsylvania regarding a break-in at COSTCO. MURPHY was
apprehended while leaving the scene of the break-in. CATALDO did
not know how MURPHY beat the case. FLEURY stated that once MURPHY
was out from Pennsylvania, they were going to make a big score.
FLEURY stated that "The Fugitive", who CATALDO later learned to be
TOM ENQUIST of Manchester, NH, would also be involved in the break-
in. CATALDO has heard that FLEURY and ENQUIST “hang out” together.

 

FLEURY told CATALDO that they (FLEURY and MURPHY) were
planning ome big score a year instead of a scorg once a monkir. of: ie.
After the break-in at AMERISOURCE, in approximately the
and of November, CATALDO contacted FLEURY. CATALDO was upset that~ 250
FLEURY had not included CATALDO in the job at AMERISOURCE. © CATALDO. ,
left messages on FLEURY'S telephone. When CATALDO-finally spoke-------—-—-
with FLEURY in person, FLEURY was upset at CATALDO for leaving
messages on his phone. FLEURY was afraid that law enforcement wae
watching him. FLEURY told CATALDO that he had enough pills to iast
him until Christmas. FLEURY asked CATALDO if he had any "fences"
in New York to move the pills. CATALDO told FLEURY that he was
recently settled in New York and he did not have anybody .

 

CATALDO thought that FLEURY was keeping the pills from
the AMERISOURCE theft at his (FLEURY'S) apartment. FLEURY told a
friend of CATALDO’s, KELLY REYNOLDS, that he (FLEURY) was not
staying at his apartment because his apartment was being used as a
"warehouse", FLEURY was staying with his wife and child at a Hotel
on North Route 1 in Saugus, Massachusetts (MA). FLEURY also told
REYNOLDS that he was driving a new Cadillac Escalade.
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 33 of 45 PAGEID #: 449

---- Working Copy ---- Page 2

FLEURY has a garage in East Lynn, MA, but CATALDO felt
shat he would not keep the pills there because they would be safer
at his apartment. FLEURY’S apartment is located at 387 Broadway
Apt. 406, Lynn, MA.

CATALDO has been to FLEURY’S apartment on several
occasions and has seen pills and a "cell phone jammer" in the eR
apartment. FLEURY purchased a cell phone jammer from Afghanistan
for $10,000 (ten thousand dollars) over the internet. CATALDO saw
the céll phone jammer in June or July of 2006 when CATALDO was at
FLEURY’S apartment. CATALDO described the cell phone jammer as a
medium size black suitcase. FLEURY demonstrated the operation of
the cell phone jammer when he told CATALDO to make a cail on his
cellular telephone. FLEURY then activated the cell phone jammer
and CATALDO. immediately Lost the connection on his call.

- CATALDO drew a sketch of the inside of FLEURY'S home
(sketch enclosed in the 1A section of this file}. CATALDO stated
that upon entering the front door you are standing in the family
room and the kitchen in on the right. The family room has a
balcony which overlooks the parking lot. The hallway is also
Located to the right. AS you walk down the haliway,-there are two +
bedrooms on the left and a bathroom on the right. The first
bedroom has a computer with an internet connection. The cell phone
jammer is kept in this room. CATALDO thought that this is also
where FLEURY would keep the pills. The second bedroom is the
master bedroom, which also includes a bathroom. The master bedroom

overlooks the lake.

CATALDO stated that in order to gain entry into
AMERISOURCE, they would have first cut the pone lines, since they
are the brain to the alarm system, unless there was something
directly connected to the alarm system, outside of the phone line.
They would have used a cordless saws all or hack saw to Cut the ---
cord. MURPHY studied alarms while in prison. MURPHY’S knowledge
about alarms would have made him responsible for digabling the -* © hluuw
alarm system. They would have ripped the back door lopen, or cut oo
through the roof, and lower the cell phone jammer to brock. the - aa
alarm’s cellular back up. CATALDO felt that they would not have er
done the break-in without the. cell phone jammer. After. eritering, =.
they would have "killed the brain" of the alarm system. The alarm «°° ~--~—--
system would be located close to where the phone line, or direct
line, entered the building. The fire alarm would also have to be
disabled because the communication is more difficult to disconnect

if the fire alarm was activated.

 

Construction bags, or a4 heavy duty bag that can be
purchased at home depot, would be used to carry the pills. They
would be in the building as long as necessary to clean it out.
They owned the building after shutting down the security so they
could take as long as they wanted. The tools would have been
dumped after the score sgmewhere they could not be found. A box
van, or UHAUL would be used for transportation. CATALDO thought
that .MURPHY may have used a UHAUL on the break-in at the COSTCO in

Pennsylvania.

tn the nast. FLEURY has discussed using a type of saw
 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 34 of 45 PAGEID #: 450

---- Working Copy ---- Page 3

blade to cut through the roof during a break-in. FLEURY has told
CATALDO that in using the cell phone jammer he would cut a hole
through the roof and lower the cell phone jammer to bypass the
alarm’s cellular back up. CATALDO stated that MURPHY Tikes doing
jobs through the roof. MURPHY and ENQUIST are in good enough shape
to manage a break in through the roof. FLEURY is in poor shape and
would be the "peek man”. FLEURY would have-been sitting in the
truck during the break-in keeping watch.

CATALDO was not aware of any other people involved in the
theft, except for FLEURY, MURPHY, and ENQUIST.

CATALDO thought that FLEURY would be "bulking" the pills
and selling them on the street through four or five people. FLEURY
could be using JOHN DONOVAN to move some of the pills. CATALDO met
DONOVAN through BRODIE SULLIVAN of Peabody, MA. SULLIVAN recently
died from a drug overdose. DONOVAN was arrested in North Carolina

in 2006.

CATALDO did not think that FLEURY would feel any pressure
from the HELLS ANGELS to,.give them a piece of the score. FLEURY‘5
deceased father was: a=HELLS ANGELS and CATALDO stated that they... .~ n=
take care of their own. However, FLEURY might still use HELLS
ANGELS because FLEURY wanted to maintain a good reputation.

In October 2006, when CATALDO was arrested by Attleboro
Police, he was working at Empire architectural in Freeport, New
York (NY). CATALDO did not recall having burglarious tools with
him at the time of the arrest. CATALDO was with JOHN CRESPO,
a.k.a. FLACKO, when he was arrested. CATALDO stated that CRESPO
wag currently living at his sisters house on St John Street, Bronx,

NY¥, near the Hunts Point area.

CATALDO met CRESPO at ANTHONY HOUSE, Roosevelt, NY,
_through the purchase of heroin. CATALDO stated=that--CRESPO will Siew
typically rob someone at gun point instead of making a pharmacy
break. CATALDO stated that himself/herself, FLEURY, MURPHY, and
others involved in pharmacy breaks do not carry weapons during a
score. If caught they do not want to be chargéd.with armed ,
robbery, which carries a stiffer_penalty. bene ee

CATALDO was told that an Attleboro Police Report stated

that CATALDO had 4 Police Radio, bolt cutters, and other
burglarious tools, with him at the time of his arrest, CATALDO
stated that he now recalled having the items with him. CATALDC
stated that he was living in a small apartment and kept most of his
stuff in the car. CATALDO traveled to Attleboro with CRESPO but
did not have any intention of committing a break-in on the way
there, while they were there, or on the way back. CATALDO did have
neroin with him during the trip. CATALDO took the trip to

Attleboro to take REYNOLDS to a court hearing.

CATALDO stated that he was going to use either his sister
in Lynn, MA, OF FLEURY, to move pilis taken from the break-in
attempted at HEALTHSMART PHARMACY in Ossining, NY. CATALDO did not .

know that AMERISOURCE provided the supply of drugs for HEALTHSMART
eee ovr ARTATRA atatead that if was a coincidence. However,
 

Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 35 of 45 PAGEID #: 451

---- Working Copy ---- Page 4

CATALDO felt the score in Mansfield was bigger than he had
originally thought after learning that AMERISOURCE provided drugs

for HEALTHSMART PHARMACY.

. _ Fypically, CATALDO does not break into a Pharmacy like
HEALTHSMART because of the location. However, CATALDO was high on
herotn at the-time: CATALDO stated that he found HEALTHSMART -~ ~
PHARMACY through pure luck while traveling through Ossining.
CATALDO did not attempt the theft near his home because he was on

probation.

REYNOLDS contacted FLEURY to see if he would help pay to
have CATALDO bailed out of jail. FLEURY stated that he might be
able to help out but he never followed through on the request.
FLEURY called REYNOLDS a few weeks ago, but CATALDO was not sure .
why. REYNOLDS has not spoken to FLEURY since.

CATALDO. was with CRESPO during the break-in at
HEALTHSMART. They used an Enterprise Rental car from TF Green
Airport with Rhode Island plates. CRESPO later told REYNOLDS that
ne (CRESPO) was pulled over by Ossining Police, and released, after
the attempted theft at HEALTHSMART. CATALBO-was not sure if CRESP6-

was in a vehicle or not.

CRESPO sent an Unidentified Male (UM1) to CATALDO to find
out if CATALDO told police that CRESPO was involved in the
HEALTHSMART break-in. CATALDO told UM1 that he has not said
anything to police. CATALDO later received a calli from another
Unidentified Male (UM2). UM2 told CATALDO that CRESPO thought that
CATALDO was "telling on him." CATALDO told UM2 that he was not
telling and UM2 responded "I Gidn’t think you were going to tell."
UM2 was further identified as someone that CRESPO purchased heroin

from.

CATALDO stated that he has not heard from DAVID NASSOR
but believes he is living somewhere in Massachusetts.
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 36 of 45 PAGEID #: 452

EXHIBIT 8

CYBER CRIME DIVISION
COMPUTER FORENSICS LABORATORY

OFFICE OF THE ATTORNEY GENERAL
ONE ASHBURTON PLACE, 19™ FLOOR
BOSTON, MASSACHUSETTS 02108
TEL 617-963-2860 ~ FAX 617-727-5755

REPORT OF DIGITAL MEDIA FORENSIC EXAMINATION

ATTLEBORO POLICE DEPARTMENT ASSIST
COMPUTER FORENSICS LAB # 09-016

 

This forensic report in the above-entitled matter is a brief summary of the evidence found, as of this date, durir
the forensic examination of the seized media.

Richard P Campion, a police officer assigned to the Attleboro Police Department Detective Division along with
Detective Cote, began investigating E.A. Dion Inc., a jeweiry fabrication company, on Sunday June 08, 2008.
Approximately 2.5 million dollars of various metals, gems, and custom rings had been stolen from E.A. Dion Inc.
During their investigation, two individuals by the name of Sean David Murphy and David Nassor were identified as
suspects, Several documents of interest, appearing to be computer generated, were located during the search of
Muphy’s business, The North Shore Movers. One document in particular, a purchase order for a Y200 cell phone
jammer car antenna kit from a company called Global Gadget UK Ltd United Kingdom, was located at the business.
Other possible computer generated documents were located throughout the business for the websites
www.globalgadget.com, www.thingswebuy.com, and www.infousa.com.

The following hard drives, cell phone, and floppy diskette were seized from Sean Murphy on January 23, 2009 and
delivered to the Massachusetts Attorney General’s Office’s computer forensic Jab on Apmil 01, 2009:

One (1) 40GB Samsung HDD, Model # SP0401N, S/N: S004J10¥652579
from a Del! Dimension 3000 desktop S/N: CN-0WC292-42940-54R-018F “Computer-1”

One (1) 320GB Seagate Barracuda 7200.10 HDD S/N: 5QF23DAM
from a HP media center M7000 S/N: MXX6480VRH “Computer-2”

One (1) 120GB Seagate Barracuda 7200.9 HDD S/N: 9LS1Y803
from an eMachine S/N: XRF6B10009328 “Computer-3”

One (1) 300GB Seagate Barracuda 7200.8 HDD S/N: 4NF16K3S
from a HP media center M7000 S/N: CNN6120HND “Computer-4"

One (1) 20GB IBM Travelstar HDD Model # DJSA-220
from a Compaq Presario laptop S/N: 1V09FP6617R1 “Laptop-3”

One (1) Blue and Black Sanyo Sprint cellular telephone
Model: SCP-8400, DEC:00805667597, HEX:08567B0D 75

One (1) Floppy Diskette with a Radio Shack label on the disk
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 37 of 45 PAGEID #: 453

‘The following hard drives were seized from 60 Monson Turmpike Road, Petersham, Massachusetts and delivered to the
Massachusetts Attorney General’s Office’s computer forensic lab on April 01, 2009:

One (1) 160GB Seagate Momentus 5400.4 HDD S/N: 5RF23A3K
from a HP Presario CQ50-215NR laptop S/N: 2CE8468PP5 “Laptop-1”

One (1) 120GB Fujitsu HDD Model # MHW2120BH, S/N: NZOXT6C27LJF
from a Dell Inspiron laptop Model 4 E1505, S/N: CN-0XD720-48643-6CI-0197 “Laptop-2”

The seven (7) hard drives, one (1) cell phone, and one (1) floppy diskette previously listed above, were imaged by the
Director of the Computer Forensics Lab, David Papargiris on April 09, 2009.

On Wednesday, April 22, 2009, I used a forensic software program called “EnCase version 6.12.1” to run scripts
against each of the hard drives. On each hard drive, | conducted a keyword search consisting of the following terms:
Sean Murphy, David Nassor, Cellular Telephone, Jamming equipment, Global Gadget UK, Global Gadget UK Lid
United Kingdom, www. globalgadget.com, Lippincott LLC, www. thingswebuy.com, www.infousa.com, EA. Dion
Company, 33 Franklin McKay Drive, North Shore Movers, 725 R Summers Street, Summers street Lynn, Angel One,
jewelry manufacturing, Lippincott Customer ID, ID# 1111532, 60 Monson Turnpike Road, 407 Walnut Street.

During the analysis of the electronic media, potential evidence was located on Computer-1, Computer-2, Computer-3,
Computer-4, and Laptop-2.

I recovered the following potential evidence from the hard drive labeled as “computer 1”:

¢ The internet history search revealed the website www. globalgadgetuk.com, with a specific URL link indicating
a page for a “Y300 triple system jammer “-was visited found in unallocated clusters, jewelry references for the
website cbay.com’s store, and a search was run for the names “dave nassor™ and “david nassor”. One (1) image
of aring was also located during my internet history review.

e The keyword search revealed what appears to remnants of an e-mail message mentioning a payment
confirmation for a jetblue flight for Dave Nassor along with contents referencing a “Y 200 High Power cell
phone jammer” were found in unallocated clusters. The website address “www.thingswebuy.com” was found
located in pagefile.sys.

The Norton Antivirus Scan conducted on 08/12/2009 at 11:30 revealed the following 57 risks: Adware.Begin2search,
Adware.Gen, Adware.ISMonitor, Adware.Look2Me, Adware.MaxSearch, Backdoor.Tidserv, Backdoor. Tidservtinf,
Backdoor.Trojan, Downloader, Packed.Generic.200, Spyware.ISearch, Trojan Horse, Trojan.Adclicker,
Trojan.Dropper, Trojan.Fakeavalert, Trojan. Vundo. These following risks are known for potentially displaying pop-up
advertisements, redirecting search queries, tracking user activity, displaying false antivirus alerts, and potentially
leaving a backdoor to the system which may or may not leave the computer compromised.

A Gargoyle Investigator scan for malware was conducted on 7/29/2009 at 12:06 and revealed one (1) Anti Forensic
Program (DrvCareVista), one (1) P2P Tools (Mytella), and one (1) Scareware (Spyware Striker).

I recovered the following potential evidence from the hard drive labeled as “computer 2”:

e Ninety-two (92) thumbnail images of what appears to be cellular jamming equipment was discovered in
Temporary Internet Files. ,

* Inthe HP_Administrator’s user account, a link was found to an image, appearing to be of a resume, titled
“scan001001.bmp” referencing “407 Walnut Street Lynn, MA” and “Northshore Movers”.

* Multiple eBay “.htm” documents appearing to reference the purchase of unidentified equipment for “Northsho:
Correctional Facility”, the purchase of an “All in One Counter Surveillance Device RF”, Plasma Cutters, and
multiple e-mails which appear to be written by Sean Murphy, were located while reviewing the results from th
keyword search I ran. One specific message is from “s murphy22@verizon.net” to “Phantom Technologies —
Sales Department”discussing “Northshore Correctional Facility... operated by the Angel One Corporation” an
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 38 of 45 PAGEID #: 454

4 second e-mail message appears to be a receipt of the purchase of an “All in One Counter Surveillance Device
RF”.

Below are two (2) recovered sample messages that were located under the user “HP Administrator”:
1) C\Documents and Settings\HP_Administrator\Local Settings\A pplication Data\[dentities\{D190EE07-1387-
4595-8F62-6253114299D2}\Microsoft\Outlook Express\Deleted Items.dbx\DBX Volume\(No Subject)

From: "Sean Murphy” <s.murphy22@verizon.net>
To: <info@sesp.co.il>
Subject:
Date: Tue, 27 Feb 2007 12:42:47 -0500
MIME-Version: 1.0
Content-Type: multipart/alternative;
poundary="-~--= NextPart_G00_0003_01C75Asc.C8cOeBDO"
MX-Priority: 3
X-MSMail-Priority: Normal
X-Mailer: Microsoft Outlook Express 6.00.2900.3028
N-MireOLE: Produced By Microsoft MimeOLE v6.00.2900.3928

This is a multi-part message in MIME format.

ie = NextPart_000_0003_01C75A6C.C8CO6BDO

Content-Type: text/plain;
charset="is0-8859-1"

Content-Transfer-Encoding: quoted-printable

I am interested in knowing if you can manufacture a 107B (100W per band) =
tn a triple band configuration that would give the full 1000 meter =
jamming range. The 250 meter (70W per band} unit you advertise will not
cover the area we require. Please let me know. I am also assessing =
cellular jammers at Phantom Technologies LTD in Israei.=20

If you can manufacture a 100W per band, 1000 meter (Triple band} 1078, =
please inform me of the purchase price. I purchased a Triple Band =
SILENTEC from SESP 4 years ago. It just does not cover the desired =
samming range. Hopefully, the new units work better and cover a greater =
Gistance.

Thank you.
Millenium Adventure Park

2) C\ Documents and Settings\HP Administrator\Local Settings\Temp\Temporary Internet
Files\Content.JES\9JJ3P5CE\HttpNimletDriver[5].htm

From: Phantom Technologies - Sales Department <sales@phantom.co.1l>
Date: 2007/02/26 Mon AM 09:15:34 CST

To: s.murphy22@verizon.net

Cc: roei@phantom.co.il

Subject: Phantom

Dear Sean Murphy.

Please let me know if you need any Import license to get
the device into USA.

Best Regards,

Khmelnitsky Michael
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 39 of 45 PAGEID #: 455

Sales Department

Phantom Technologies LTD
Tel +972-3-9215720
Faxt+972-3-9215434

non Original Message-----

From: s.murphy22@verizon.net [mailto:s.murphy22 @verizon.net]
Sent: Monday, February 26, 2007 4:57 PM

To: Phantom Technologies - Sales Department

Subject: Re: Phantom

Dear Phantom:

Northshore Correctional Facility is a private prison owned and operated by
the Angel One Corporation leased to Essex County in Lynn, Massachusetts. Let
me know once again if we can now forward the certified bank check.

I hope this addresses your concerns.
Sean Murphy.

From: Phantom Technologies - Sales Department <sales@phantom. co.il>
Date: 2007/02/26 Mon AM 08:20:08 CST

To: s.murphy22@verizon.net
Cc: roei@phantom.co.il .
Subject: Phantom

DearSean Murphy,

Pleaselet me know if your facility is in governmental or in private
responsibility.
Ineed these details to fulfill M.D. permission form.

Best Regards,

Khmelnitsky Michael

Sales Department

Phantom Technologies LTD
Tel +972-3-9215720
Faxt+972-3-9215434

NOD32 2081 (20070226) Information
The Norton Antivirus Scan conducted on 07/02/2009 at 09:32 did not reveal any risks.
A Gargoyle Investigator scan for malware was conducted on 7/07/2009 at 13:32 and revealed two (2) Gaming

Programs (Superslots Casino, G2GPoker) and one (1) Spyware Program (Spy Mail). A diagnosis scan could not be
obtained for Drive C due to constant computer crashes while running the scan.
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 40 of 45 PAGEID #: 456

I recovered the following potential evidence from the hard drive labeled as “computer 3”:

e The user name “Sean Murphy” was located in the registry, indicating possible ownership of the computer
system.

e Images appearing to be that of “North Shore Movers” were found located under “Documents and
Settings\Owner\My Documents\My Pictures\Sean\”.

® Fromrunning HTML carver, one (1) .htm document referring to “Free Gold Packs from GoldKit — sell gold
jewelry online” and one (1) .htm document showing Sean Murphy sending a package to Columbia, South
Carolina.

e Internet History search revealed “http://www.northshore-movers.net” being visited multiple times and
www.global gadgetuk.com/y200-quad.htm visited once.

e During keyword search I located remnants of messages referencing “Global Gadget”, “North Shore Movers”, a
““¥200 Quad” which appears to be a type of jammer in multiple locations on the drive.

The Norton Antivirus scan did not reveal any risks.

A Gargoyle Investigator scan for malware revealed one (1) gaming program (Superslots Casino)

Drive D — eleven (11) antiforensics programs (CCleaner, Internet Soap, ZeroNetHistory 2005), two (2) file splitting
programs (Fast File Splitter, Zipper), six (6) P2P Tools (Manolito, Imesh Mp3, Lime WireTurbo, Morpheus Music,
Morpheus PRO, Lime WireTurbo), four (4) remote access (Dame Ware Mini Remote Control) and one (1) scareware
(Spyware Striker).

I recovered the following potential evidence from the hard drive labeled as “computer 4”:

e Internet History revealed a sample of the following URL's of interest “cellphonejamming.info/” and
“wwrw.pricelessjewlryinc.com/”.

° A message appearing to show correspondence between “Global Gadget UK Ltd” and “Sean Murphy” regardin
the purchase of a “Y2000 Quad” was found in unallocated clusters. Multiple blank forms appearing to be from
the company North Shore Movers of Lynn were located under the HP_Administrator’s “My Documents” folde
Multiple contract agreement forms appear to be created for “BJ’s Wholesale Club”, “Connor Real Estate”,
“COSTCO” and a letter to Michael T. Wedge the President/CEO of BJ’s Wholesale Club and James D. Sinega
the President/CEO of COSTCO Wholesale Warehouse.

Below is a sample form which appears to be a document written to Michael T. Wedge, the President/CEO of BJ's
Wholesale Club by Sean Murphy:

BJ's President letter Lrtf
19) C\Documents and Settings\HP_Administrator\My Documents\BJ's President letter L.rtf

Page 1
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 41 of 45 PAGEID #: 457

Warning !!! Security Alert II! You can prevent major
burglaries of BJ's Wholesale Clubs while
upgrading BJ's security as a whole.

Michael T. Wedge
President/CEO

BJ's Wholesale Ciub
1 Mercer Road
Natick, MA 01760

RE: Security Consulting & Contracting

Dear President Wedge:

Our elite team of experts have been the only group of professionals who
have successfully burglarized a number of BJ's Wholesale Clubs and
taken multiple high ticket items during the high-tech heists. You can now hire my
Security Consulting firm to utilize our expertise in analyzing BJ's security as
a whole. We will recommend simple cost effective upgrades to BJ's
security alarm system and buiiding(s) that would prevent even someone of my caliber
from successfully burglarizing [any] BJ's Wholesale Warehouses.
* The total cost savings to BJ's in averting just one major burglary
substantially outweighs the capital applied to our consulting fee and
implementing the recommended changes.

We will personally travel to each and every 8/'s Wholesale Warehouse
to take the required precision measurements necessary for implementing
our recommended security upgrades. We will assess each site according
to its individual security needs. We will document on custom forms the
specific upgrades and corresponding measurements.

My private security contracting company is also readily available to
implement and install any or all security upgrade recommendations, if Bu's
50 chooses. In addition to myself, we have licensed electricians, master
carpenters and an ex-HONEYWELL supervisor on staff.

BJ's current security alarm system (as presently installed} is simply
insufficient to prevent a high-tech burglary team from defeating the system.

We would like to enter into a mutually beneficial business relationship with
BJ's to upgrade BJ's security alarm system and building(s) to prevent
expert criminals from successfully burglarizing any BJ's Wholesale Club
nationwide.

| would first like to touch bases with you via telephone. Then ! would request a
follow up face-to-face meeting where | could further expand on the cost effective unique
services we are willing to provide to Bus.

20) C\Documents and Settings\HP_Administrator\My Documents\BJ's President letter 1.rtf
Page 2
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 42 of 45 PAGEID #: 458

Very truly yours,

 

Sean D, Murphy

Angel One Security Consulting

407 Vvalnut Street

Lynn, MA 01905

{781)599-0036

PS.

I will call your office at 8:30am EST on Monday July 10, 2006. If you will not be
in,or if | have chosen an inconvenient time, please have [ J tell me when |
should return the call.

Norton Scan 7/02/2009 11:38 did not reveal any risks.

A Gargoyle Investigator scan for malware run at 10:50 on 7/02/2009 revealed ten (10) antiforensics programs
(DryCareVista, CCleaner), one (1) file splitting program (DVDCutter Stream MP3CD Way Converter), one (1) gamin;
program (Superslots Casino), one (1) P2P Tool (Mytella), four (4) remote access (DameWare Mini Remote Control),
one (1) packet sniffing program (Network Probe Lite). The Gargoyle Scan on Drive D revealed one (1) gaming
program (Superslots Casino) and one (1) Spyware program (Spy Mail).

I did not recover any potential evidence from the hard drive labeled as “laptop 1”.
1 recovered the following potential evidence from the hard drive labeled as “laptop 2”:

e Four hundred and fourteen (414) images of jewelry and phone jammers.
« Multiple phone jammer HTML documents.
e® Two (2) e-mails referencing purchasing a jammer.

Below is the recovered Outlook e-mail located in the following path “Attleboro 09-016\Outbox.dbx”:
Name jammer
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 43 of 45 PAGEID #: 459

Attachments

Attleboro 09-016\Outbox.dbx\(No Subject)\(Alternate Body)

 

Records
Attleboro 09-016
~Outbox.dbx.
-THE REAL DEAL
-the real deal
-jammer
-(No Subject)
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 44 of 45 PAGEID #: 460

Norton Antivirus scan 14:28 7-01-09 revealed a total of five (5) risks with the following risk names;
“W32.Virut!html”, “JS.Downloader”, “Trojan.Giframe”. These risks may redirect users to a malicious Web
site that may exploit the browser and download malicious files from Web sites and executes them.

A Gargoyle Investigator scan for malware was conducted on 13:47 July 01 2009 and revealed one (1) Gaming
program (Alpine Cold Casino), one (1) piracy tool (007 DVD Copy), and two (2) Steganography programs
(Data Stash — Installer).

I did not recover any potential evidence from the hard drive labeled as “laptop 3”.

Floppy Diskette
[reviewed the floppy diskette July 08, 2009 at 10:25. One text file, not of evidentiary value, was located on the
disk.

Cell Phone
I reviewed the cell phone at 10:32 on July 08, 2009 which had been previously acquired by the Director of the
Computer Forensics Lab, David Papargiris using Cellebrite. No evidence was recovered.

Based upon my findings during the forensic examination, I can conclude that J located the following items of
interest:

e The website www.globalgadgetuk.com, with a specific URL link indicating a page for a “Y300 triple
system jammer, was visited on computer 1.

® The website address “www.thingswebuy.com” was found located in pagefile.sys on computer 1.

« Multiple e-mail messages showing correspondence between “Sean Murphy” and “Khmelnitsky Michael

“from the Sales Department of Phantom Technologies LTD” on computer 2.

e Through independent research, Phantom Technologies LTD’s website address is
“http://www.phantom.co.il””. On Phantom’s website, they claim to be the “World's Leading Developer
and Manufacturer of Jammers”. The e-mail address “sales@phantom.co.il” listed on their “Contact Us”
page appears to match the e-mail address corresponding with “Sean Murphy” found on computer 2.

e Remnants of messages referencing “Global Gadget”, “North Shore Movers”, a “Y200 Quad” which
appears to be a type of jammer in multiple locations on the drive on computer 3.

« Images appearing to be that of “North Shore Movers” were found located under “Documents and
Settings\Owner\My Documents\My Pictures\Sean\” on computer 3.

» A message appearing to show correspondence between “Global Gadget UK Ltd” and “Sean Murphy”
regarding the purchase of a “Y2000 Quad” was found in unallocated clusters on computer 4.

* Multiple blank forms appearing to be from the company North Shore Movers of Lynn were located
under the HP_ Administrator’s “My Documents” folder on computer 4.

® Multiple contract agreement forms appear to be created for “BJ’s Wholesale Club”, “Connor Real
Estate”, “COSTCO” and a letter to Michael T. Wedge the President/CEO of BJ’s Wholesale Club and
James D. Sinegal the President/CEO of COSTCO Wholesale Warehouse on computer 4.

e Four hundred and fourteen (414) images of jewelry and phone jammers, multiple phone jammer HTML
documents, and two (2) e-mails referencing purchasing a jammer were found on laptop 2.

Page 10 of 11
Case: 2:11-cr-00010-GCS-EPD Doc #: 113-1 Filed: 10/06/11 Page: 45 of 45 PAGEID #: 461

Page 11 of 11

Respectfully submitted,

Z , sll
Lie “

Computer Forensic Examiner
Massachusetts Attorney General’s Office
Computer Crime Division

CYS

David Papargiris

Director Computer Forensics Lab
Massachusetts Attorney General’s Office
Computer Crime Division
